Case 2:18-cv-00491-JRG-RSP Document 304 Filed 06/19/20 Page 1 of 1 PageID #: 9962




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

      UNILOC 2017 LLC,                            §
                                                  §
                Plaintiff,                        §
                                                  §
      v.                                          §        Case No. 2:18-cv-00491-JRG-RSP
                                                  §
      GOOGLE LLC,                                 §
                                                  §
                Defendant.                        §

                                       TRANSFER ORDER
  .
           Before the Court is the Motion to Transfer Venue to the Northern District of California

  under 28 U.S.C. § 1404 (“Motion”), filed by Defendant Google LLC (“Google”). Dkt. No. 107.

  The Court recently considered this question in a related case, granting the motion to transfer. See

  Dkt. No. 308 in Case No. 2:18-cv-00504-JRG-RSP. After consideration, and for the reasons

  provided in the Order in the -504 case, the Court GRANTS Google’s Motion.

           It is therefore ORDERED that the above-captioned case be transferred to the Northern

  District of California. It is further ORDERED that the unreached deadlines in the Docket Control

  Order are VACATED. See Dkt. No. 303.
          SIGNED this 3rd day of January, 2012.
           SIGNED this 19th day of June, 2020.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
